                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                             CASE NO. 3:19-CV-012

PAIGE L. PAHLKE, et al.,

                     Plaintiffs,

       v.                                         MEMORANDUM OF LAW IN
                                                SUPPORT OF MOTION FOR ENTRY
JAMES PAUL BLAIR, et al.,                           OF PROTECTIVE ORDER

                     Defendants.

1. INTRODUCTION

       This is a civil rights action brought under the North Carolina General Statutes

and under 42 U.S.C. § 1983, alleging that Defendants caused the numerous sexual

assaults and batteries of the minor Plaintiff, Jane Doe. Plaintiffs seek information from

the personnel files of Defendant James Paul Blair. Because of the statutory protections

accorded to personnel records of municipal employees by North Carolina law, the

parties move, by consent, for the issuance of the proposed protective order attached

hereto as Exhibit “A.”

2. GOOD CAUSE EXISTS FOR THE PROTECTIVE ORDER

       Fed. R. Civ. P. 26(c)(1)(B) authorizes the issuance of a protective order to specify

the “terms” for a particular “disclosure or discovery.” Indeed, this Court’s Pretrial

Order expressly contemplates the issuance of protective orders during discovery. (Doc.

16, Section I. E.). Particularly where the requested protective order is consented to by all

parties, it may be entered with or without a showing of good cause. In re Roman Catholic




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Archbishop of Portland in Oregon, 661 F.3d 417, 424 (9th Cir. 2011) (“While courts

generally make a finding of good cause before issuing a protective order, a court need

not do so where (as here) the parties stipulate to such an order.”). Here, the personnel

records of Defendant Blair are confidential under N.C. Gen. Stat. § 160A-168(c), thereby

establishing good cause for issuance of a protective order limiting their use to this

litigation only and providing protections against further disclosure.


3. CONCLUSION

      The parties having so stipulated, the Court is urged to adopt and enter the

submitted proposed protective order to facilitate the lawful disclosure of the above-

described personnel records.


      This the 16th day of August, 2019.

                                           /s/ Paul A. Tharp
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                               CERTIFICATE OF SERVICE

       THE UNDERSIGNED HEREBY CERTIFIES that the MOTION FOR ENTRY OF
PROTECTIVE ORDER to which this certificate is attached was served upon the
following counsel of record via the use of the CM/ECF system, which will send a
notification of such filing and a copy thereof:

                                Scott D. MacLatchie
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               Attorney for Defendants City of Lowell and Scott Bates


      This the 16th day of August, 2019.

                                           /s/ Paul A. Tharp
                                           Paul A. Tharp




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